      Case 3:23-cv-10385-TKW-ZCB Document 45 Filed 09/26/23 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 PEN AMERICAN CENTER, INC.,
 et al.,

       Plaintiffs,

 v.                                             Case No. 3:23cv10385-TKW-ZCB

 ESCAMBIA COUNTY SCHOOL
 BOARD,

      Defendant.
_________________________________/

                     ORDER ACCEPTING AMICUS BRIEFS

      Upon due consideration of the unopposed motions for leave to file amicus

brief filed by a group of law professors (Doc. 42) and the Florida State Conference

of the NAACP and Equality Florida Action, Inc. (Doc. 43), it is ORDERED that:

      1.     The law professors’ motion is GRANTED, and the amicus brief

attached to the motion (Doc. 42-2) is accepted.

      2.     The NAACP/Equality Florida’s motion is GRANTED in part insofar

as the amicus brief attached to the motion (Doc. 43-1) is accepted, but the declaration

and statements attached to the motion (Doc. 43-2) is STRICKEN (and the portions

of the amicus brief discussing the statements will not be considered) because that

type of extra-record evidence is not something the Court can consider when ruling

on the legal sufficiency of the complaint.
Case 3:23-cv-10385-TKW-ZCB Document 45 Filed 09/26/23 Page 2 of 2




DONE and ORDERED this 26th day of September, 2023.




                             _________________________________
                             T. KENT WETHERELL, II
                             UNITED STATES DISTRICT JUDGE




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